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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,



                       Plaintiff,                     Civil Action No. 1:21-cv-02886 (FYP)

               v.

BERTELSMANN SE & CO. KGAA,
PENGUIN RANDOM HOUSE, LLC,
VIACOMCBS, INC., and
SIMON & SCHUSTER, INC.,

                       Defendants.




         ORDER ON STIPULATION REGARDING CORRECTIONS TO TRIAL
                             TRANSCRIPTS


       Upon consideration of the parties’ [173] Stipulation Regarding Corrections to Trial

Transcripts, and pursuant to LCvR 16.6 of the Local Rules of the United States District Court for

the District of Columbia, the Court hereby directs the court reporters to issue amended trial

transcripts reflecting the following corrections:

                Line/Page                Current Text              Corrected Text
             148.11                 228                        288
             233:11                 228                        288
             286:20                 236                        263
             300:20                 Exhibit 236                Exhibit 263
             300:19                 color coated               color coded
             300:24                 Defendant’s 236            Defendant’s 263
             411 (index)            PX32                       PX632
             435:14                 PX32                       PX632
             435:18                 PX32                       PX632
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           607:10         PX530                      PX590
           765:3          $50 million                $15 million
           1092:13        Plaintiff's Exhibit A29    Plaintiff's Exhibit 829
           1217:12        No. 1064                   No. 964
           1321:15        Plaintiff's Exhibit No.    Plaintiff's Exhibit No. 964
                          1064
           1795:12        X760                       760
           1805:1         Faden                      Phaidon
           1838:16        X760                       760
           2364:22        PX176                      PX174
           2406:10        PX450                      PX405
           2557:8         Plaintiff’s Unnumbered     Pages 101 to 105 of PX-
                          Exhibit                    886
           2983:10        2009                       2001
           2983:14        Exhibit No. 522            Exhibit No. 422
           3038:3         Exhibit 522                Exhibit 422
           3038:6         Exhibit No. 522            Exhibit No. 422
           3041:4         PX 2009                    PX 2001
           3041:14        2009                       2001


      SO ORDERED.




                                      FLORENCE Y. PAN
                                      United States District Judge

Date: September 6, 2022




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